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5

6
                              UNITED STATES DISTRICT COURT
7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
10               Plaintiff,                       DEFENDANT’S OPPOSITION TO THE
                                                  GOVERNMENT’S MOTION TO
11                      v.                        TERMINATE AND NOT FURTHER
                                                  EXTEND DEFENDANT’S TEMPORARY
12   MICHAEL JOHN AVENATTI,                       RELEASE [DOCKET NO. 262]
13               Defendant.                       [Declarations of F. Ramzi Asfour, M.D.,
                                                  and H. Dean Steward filed concurrently
14                                                herewith; Motion to Strike and [Proposed]
                                                  Order previously filed]
15

16

17
           Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
18
     counsel of record, H. Dean Steward, hereby files this Opposition to the Government’s
19
     Motion to Terminate and Not Further Extend Defendant Michael John Avenatti’s
20
     Temporary Release [Docket No. 262]. Defendant’s opposition to the motion is based on
21
     the attached memorandum of points and authorities; the concurrently filed declarations
22
     of F. Ramzi Asfour, M.D. and H. Dean Steward; the previously filed Motion to Strike
23
     and Objections To Portions of AUSA Brett Sagel’s Declaration Submitted in Support of
24
     the Government’s Motion to Terminate and Not Further Extend Defendant Michael John
25
     Avenatti’s Temporary Release [Docket No. 267], together with the Reply [Docket No.
26
     269]; the previously lodged deposition transcript of Mr. Jay Manheimer, together with
27
     his Notice of Errata [Docket Nos. 200-1 and 200-2]; the previously filed Declaration of
28
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1    Lea Black [Docket No. 119-2]; the Pretrial Services Digital Forensic Examination
2    Report; the files, records and transcripts in this case; and such further evidence and
3    argument as the Court may permit at a hearing on this matter.
4
      Dated: September 11, 2020                 Respectfully submitted,
5

6
                                               /s/ H. Dean Steward
7                                               H. DEAN STEWARD
8                                              Attorney for Defendant
                                               MICHAEL JOHN AVENATTI
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Remarkably, the government seeks to have Defendant Michael John Avenatti
4    (“Mr. Avenatti”) remanded because, according to their most friendly version of the
5    “facts,” on one or two occasions, over three months ago, as part of his criminal defense
6    and at the direction of his counsel H. Dean Steward, Mr. Avenatti edited legal filings on
7    a computer that did not permit him access to the Internet and then Mr. Steward filed the
8    pleadings. Pretrial Services previously recommended to the Court that “no action” be
9    taken against Mr. Avenatti and found that Mr. Avenatti has “maintained compliance with
10   his bond conditions. Pretrial Services does not believe further action is warranted . . .”
11   The government, however, refuses to move on.
12         Instead, by way of their motion [Docket No. 262] (the “Motion”), the government
13   demands that Mr. Avenatti be sent back to jail. They do so not out of concern for the
14   safety of the community or because they claim there is evidence establishing Mr.
15   Avenatti is a flight risk. Rather, they do so because they want Mr. Avenatti to suffer.
16   At bottom, the prosecution’s motion is spiteful and petty, and fails to reflect the exercise
17   of reasoned prosecutorial discretion and self-restraint on power typically exhibited by the
18   U.S. Attorney’s Office for the Central District in other cases and required under our
19   criminal justice system.
20         The motion should be denied for a litany of reasons. First, since his release to
21   home confinement due to COVID-19 nearly five months ago on April 24, 2020,
22   Defendant Michael Avenatti (“Mr. Avenatti”) has taken the terms of his release seriously
23   and has been fully compliant with each of his approximate 30 bond conditions. Among
24   other things, Mr. Avenatti (a) did everything he was required to do prior to being
25   released from MCC, including being placed in solitary confinement and securing the $1
26   million bond; (b) met all of the requirements relating to his travel to California from
27   New York with no issues; (c) promptly reported to Pretrial Services upon his arrival and
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1    regularly thereafter; (d) has timely made all necessary financial reports and disclosures
2    to Pre Trial Services as required; (e) has avoided all prohibited contact with witnesses;
3    (f) has complied with the orders of his release in his other two criminal matters pending
4    in the Southern District of New York; (g) has executed all documents as required by this
5    Court; (h) has complied with the General Conditions of Release set forth in the Central
6    District of California Release Order and Bond Form; (i) has maintained an exceptional
7    relationship and perfect record with Pretrial Services (“PTS”); (j) has been monitored
8    regularly and consistently by PTS through in-person, unannounced visits, FaceTime calls
9    and emails (through Mr. Jay Manheimer as directed by PTS) and 24-hour electronic
10   monitoring; (k) has remained confined in Mr. Manheimer’s 1,000 square foot, two-
11   bedroom, one -bath apartment, where he sleeps on an air mattress; and (l) in almost five
12   months, has never left Mr. Manheimer’s property nor asked for the opportunity to leave,
13   even for medical or dental care (which he needs). In sum, Mr. Avenatti has done
14   everything he was required to do. Indeed, by all accounts other than that of the
15   prosecutors in this case, Mr. Avenatti’s home confinement has been uneventful and
16   drama free.
17         Second, Mr. Avenatti has not engaged in any improper financial transactions,
18   dissipated assets or improperly accessed any financial accounts. In addition, as this
19   Court [Docket No. 253] and the Southern District of New York (the Hon. Jesse M.
20   Furman presiding) recently ruled [Case No. 1:19-CR-00374-JMF, Docket No. 73], Mr.
21   Avenatti is indigent. As a result, he does not have significant liquid assets to transfer or
22   move anywhere,1 even if he desired to.
23

24         1
              This is the only reason the government has previously provided for the need for the
25   prohibition on Mr. Avenatti having access to the internet. But, as the government well knows,
     Mr. Avenatti has no significant money to transfer via the internet or otherwise to anyone. The
26   defense has requested repeatedly that that if the government has any evidence that Mr. Avenatti
27   has any liquid assets greater than $1,000 to access or transfer, they immediately disclose it to
     the Court and the defense. Their continued silence on this issue demonstrates that the entire
28   reason for the internet prohibition is and has been a fallacy, without any basis.
                                                     2
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1          Third, Mr. Avenatti has not violated any of his release conditions relating to
2    internet usage or access to the internet. The Court recently stated in its Ruling on
3    Pretrial Services Report [Docket No. 239] on August 11, 2020 that “[T]he ultimate
4    question before Court is whether Avenatti violated the terms of his release by using a
5    computer or other device which permitted him to access the internet.” (emphasis added).
6    Despite this fact, however, the government’s motion fails to mention, let alone address,
7    the language of this ruling. The reason for this is clear – because there is no evidence
8    that Mr. Avenatti ever used a computer or device that permitted him to access the
9    internet. Despite a thorough search of the residence and a forensic search of multiple
10   devices, PTS did not find any such evidence. Nor did Mr. Manheimer testify that Mr.
11   Avenatti had ever used a computer or device that permitted him to access the internet. In
12   fact, despite the government’s attempt to twist and misstate Mr. Manheimer’s testimony2
13   in its Motion to fit their false narrative, his testimony is clear and establishes the exact
14   opposite – that Mr. Avenatti never accessed the internet, never had possession or use of
15   any device that permitted Mr. Avenatti to access the internet, and has had no way to
16   connect to the internet. Moreover, Mr. Manheimer’s testimony is equally clear that Mr.
17   Avenatti has been fully compliant with his bail conditions and taken them seriously, and
18   Mr. Manheimer has routinely and consistently assisted Mr. Avenatti and his attorneys by
19   creating documents and filings (e.g. pdfs), emailing, and searching for articles and things
20   on the internet relating to Mr. Avenatti’s cases.
21         Fourth, the government’s request for remand is even more unreasonable and
22   punitive considering that by agreement of the government and Order of the Court, Mr.
23   Avenatti has been able to do for over the last three months what the government now
24

25         2
              The defense encourages the Court to read the entirety of Mr. Manheimer’s actual
     testimony [Docket No. 200-1], together with his corrections (which were permitted pursuant to
26   the Federal Rules of Civil Procedure by agreement of the government and thus also constitute
27   his testimony) [Docket No. 200-2]. Upon doing so, the Court will determine that Mr.
     Manheimer, a non-lawyer who had never been deposed before, let alone by two federal
28   prosecutors with over 100 people listening in, testified as one might expect and truthfully.
                                                    3
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1     claims he improperly did back in May – use a computer that is not able to connect to the
2     internet when Mr. Avenatti uses it, in order to work on his criminal defense (i.e.,
3     exercise his Sixth Amendment rights). That computer is able to access the internet
4     generally but does not have internet access when Mr. Avenatti uses it because he does
5     not have the password necessary to unlock the internet access (i.e., enable the internet).
6     If this use is not controversial and is approved, it is unclear how Mr. Avenatti’s actions,
7     even under the best set of facts for the government, could justify remanding Mr. Avenatti
8     and placing him at heightened risk due to COVID-19.
9            Fifth, unlike other high-profile defendants presently out on bail or released to
10    home confinement due to COVID19 (i.e. Michael Cohen, Steve Bannon and Brian
11    Kolfage), Mr. Avenatti has maintained an extremely low profile. For instance, he has
12    not appeared on radio or television; he has turned down over 60 requests for interviews
13    and comments from the media since his release, and he has not had others post to his
14    social media accounts on his behalf.
15           Sixth, the general risks related to the COVID-19 pandemic are significantly greater
16    now than in April when Mr. Avenatti was released to home confinement.3 This is even
17    more true in jails and prisons.4 Indeed, as of ten days ago (September 1), 90 of the top
18    100 COVID-19 outbreak clusters in the United States were in prisons and jails.5
19    Thus, the risk to Mr. Avenatti’s health were he to be remanded is also exponentially
20

21           3
              Since Mr. Avenatti’s release, California has set new records for cases, hospitalizations,
22    and deaths. And by nearly every statistical measure, the COVID-19 pandemic is far worse now
      than when this Court ordered Mr. Avenatti released on March 27, 2020. See, e.g., Exhibit A
23    attached hereto.
24           4
               The Declaration of AUSA Sagel submitted with the Motion is unreliable, has no
      evidentiary value, no foundation, and provides little assistance to the Court. Among other
25
      defects, there is nothing in the Declaration establishing or even suggesting that either AUSA
26    Sagel or the Deputy have any personal, firsthand knowledge as to the conditions at the jails, let
      alone the degree of knowledge necessary to state concrete facts relating to preventative
27    measures, COVID-19 infection rates and risks to inmates, especially Mr. Avenatti.
28           5
                 See https://www.theguardian.com/world/2020/sep/08/coronavirus-prisons-jails-us
                                                      4
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1     greater today than when the Court previously ordered him released on March 27. The
2     question is not whether the risks have decreased since their peak a few weeks ago; the
3     question is whether the risks are less now than when Mr. Avenatti was released in April
4     (they are not) and what the risks are likely to be in the weeks and months ahead as
5     California and the nation enters flu season and likely suffers a “second wave” as is
6     universally predicted. Moreover, Mr. Avenatti’s health conditions continue to place him
7     at a heightened risk. See, e.g., Declaration of F. Ramzi Asfour, M.D. with attached
8     report at Exhibit B (filed concurrently herewith) (the “Asfour Decl.”).6
9           Seventh, even if Mr. Avenatti violated the technical letter of one of his bail
10    conditions, he did so at the direction of his defense counsel and with a reasonable
11    misunderstanding of exactly what was prohibited. He did not purposely violate any of
12    this Court’s Orders nor did he act with blatant disregard for either the letter or spirit of
13    the Court’s Orders. At most, his counsel made an honest mistake in believing Mr.
14    Avenatti could work on his legal defense in consultation with undersigned counsel, who
15    had been unable to physically meet with Mr. Avenatti due to counsel’s age and
16    heightened risk for contracting the coronavirus. See, e.g., Declaration of H. Dean
17    Steward (the “Steward Decl.”), ¶¶ 11-13. If their understanding was incorrect, both
18    counsel and the defendant sincerely apologize to the Court and PTS, but respectfully
19    submit that the punishment for this misunderstanding should not be the drastic remedy of
20    remanding Mr. Avenatti to custody, especially in light of the pandemic.
21          For each of these reasons, as well as those detailed below, Mr. Avenatti
22    respectfully requests that the Court deny the Motion and permit him to remain on home
23    confinement for an additional sixty (60) days under the same conditions previously
24    imposed by the Court.
25
            6    The Court previously directed the parties to refrain from further arguing the health
26    issues relating to Mr. Avenatti and the risk to him were he to remain in custody. However, in
27    light of the arguments made by the government in its Motion, the defense is filing Dr. Asfour’s
      declaration and report attesting to Mr. Avenatti’s current heath conditions and the significant
28    risk to him of serious injury or death were he to be remanded in the current environment.
                                                     5
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1     II.    FACTUAL BACKGROUND
2            A.     The January 2020 Bail Revocation
3            On the evening of January 14, 2020, despite knowing full well that Mr. Avenatti
4     was scheduled to depart for New York on a commercial flight five hours later in order to
5     assist with trial preparation and be present for the Nike trial (set for the following
6     Tuesday), the government caused Mr. Avenatti to be arrested in downtown Los Angeles.
7     They chose to arrest Mr. Avenatti not at his residence as is customary, or even at the
8     airport. Instead, the prosecution purposely chose to have Mr. Avenatti arrested while he
9     was attending a high-profile State bar hearing at which the media was present. As
10    planned, a media circus resulted, with Mr. Avenatti’s arrest and ultimate remand being
11    widely reported nationwide, together with repeated mentions of AUSA Sagel by name.
12    The judge in the Nike matter (the Hon. Paul G. Gardephe) later noted that the timing was
13    especially curious seeing as the alleged conduct used by the government for the basis for
14    the arrest and bail revocation was known by the government for months prior (dating
15    back to July 2019). Upon being booked in the Santa Ana jail on the night of January 14,
16    Mr. Avenatti was placed in solitary confinement, in a wing of the jail generally reserved
17    for violent inmates with disciplinary problems.7
18           On the morning of January 15, this Court remanded Mr. Avenatti to custody. The
19    defense is mindful and respectful of this Court’s findings at that hearing and does not
20    seek to relitigate those issues here. Additional facts will emerge in the future, however,
21    that will demonstrate that the government purposely misled the Court in successfully
22    seeking Mr. Avenatti’s remand.8 Following remand, Mr. Avenatti was transferred to
23

24           7
              As the Court is aware, from 1971 until 2019 (48 years), Mr. Avenatti had never been
25    charged with any crime, let alone convicted of any crime, and had no history of violence.
             8
               Among other things, the facts that will emerge in future briefing will show that the
26
      prosecution misled this Court as to critical issues relating to the obligation of Mr. Avenatti to
27    pay his first wife, Mrs. Christine Avenatti Carlin, with whom he has two minor daughters who
      are entitled to child support. These misrepresentations and omissions served as the
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                                                       6
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1     MCC in New York City and placed under abhorrent, brutal conditions that have been
2     previously documented for the Court and never refuted by the government. See, e.g.,
3     Docket No. 164, pp. 6-13.
4            B.     The March/April Release to Home Confinement
5            By way of Orders filed on March 27, 2020 [Docket No. 128], April 10, 2020
6     [Docket No. 140], April 13, 2020 [Docket No. 142] and April 23, 2020 [Docket No.
7     151], this Court permitted Mr. Avenatti to be released from MCC and placed on home
8     confinement at the residence of Mr. Manheimer. Pursuant to these Orders, Mr.
9     Avenatti’s release and placement on home confinement was conditioned on
10    approximately 30 terms and conditions, including 24 specific conditions enumerated in
11    the Court’s Order of April 10, 2020 and at least 6 other conditions as set forth in the
12    Court’s Orders of April 13 and April 23. Contrary to the government’s claim, the
13    Court’s decision was not only centered on removing Mr. Avenatti from MCC or New
14

15    underpinnings for the government’s successful arguments to the Court that Mr. Avenatti should
      be remanded because he had “fraudulently” paid and “diverted” money to Ms. Carlin instead of
16    paying his “real creditors,” who AUSAs Sagel and Andre argued were Mr. Avenatti’s second
17    wife (Lisa Storie) and his former employee Jason Frank. By way of example only, the
      prosecution failed to inform the Court (a) that Mrs. Carlin was a legitimate creditor of Mr.
18    Avenatti’s pursuant to a divorce court judgment/order entered against him over twelve years
      prior on July 23, 2007; (b) Mrs. Carlin’s judgment predated that of all other creditors (including
19
      Mr. Frank and Lisa Storie) by at least eleven years and was entitled to preference; (c) the
20    judgment provided that Mr. Avenatti’s child and spousal support obligations automatically
      adjusted upward as Mr. Avenatti’s income (from all sources) increased from $295,020 (his
21    income in 2007); (d) if the government’s numbers in their own indictment were accurate, Mrs.
22    Carlin was due well over $5,500,000 as of the date of the transfers the government claimed
      were fraudulent and necessitated Mr. Avenatti’s remand; (e) Mrs. Carlin and her attorney Mr.
23    Ken Miller had provided this information, including substantial documentation, to AUSAs
      Sagel and Andre months prior in the Summer of 2019, including during a proffer session on
24
      July 25, 2019; and (f) Mrs. Carlin and Mr. Miller had made it clear to AUSAs Sagel and Andre
25    repeatedly in July 2019 and thereafter that she was a legitimate creditor of Mr. Avenatti’s and
      had a preference over all other creditors due to the amounts being owed pursuant to a child
26    support judgment, even directing the prosecutors to Ostler v. Smith, 223 Cal.App.3d 33 (1990),
27    the seminal case in California holding that child support can never be a fixed sum and always
      adjusts upward or downward depending on income. AUSAs Sagel and Andre knew all of this,
28    but in their zeal to have Mr. Avenatti’s liberty taken from him, purposely misled the Court.
                                                      7
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1     York City generally. Were the Court only concerned with addressing those issues, he
2     could have easily been transferred to another facility or city instead of being released to
3     home confinement. Instead, the Court properly recognized that Mr. Avenatti’s health
4     places him at a heightened risk.
5           C.     The Government’s Prior Positions Regarding Computer and
6                  Internet Access
7           Importantly, in connection with Mr. Avenatti’s motion asking that he be released
8     to home confinement, the government initially argued, in order to address their alleged
9     “significant concerns,” for a condition that would allow Mr. Avenatti to access the
10    Internet and digital devices, but with PTS vested with the authority to monitor and
11    address any related issues. In fact, under the government’s own proposal dated March
12    31 [Docket No. 131, pp. 1,6], there was no question that Mr. Avenatti could not only use
13    a computer with internet access, but could also access the internet:
14

15
            7.     Defendant’s Use of Digital Devices: Pretrial Services should be
            provided broad discretion to limit defendant’s use of digital devices, such as
16          a cell phone and computer, and be allowed to monitor defendant’s use of
17          any such digital devices to ensure compliance with the conditions of
            defendant’s temporary release. Defendant should only be allowed to use
18          digital devices to communicate with family, friends, and legal counsel;
19          prepare his defense to the pending criminal charges; and for the necessities
            of daily life, such as ordering food and groceries. . .”
20

21          Moreover, shortly after the government first raised its allegations that Mr.
22    Avenatti had engaged in widespread internet usage in order to do research for his legal
23    filings, this Court held a telephonic hearing on June 11, 2020 relating to privilege issues
24    raised by the defense. During this hearing, AUSA Sagel all but admitted that Mr.
25    Avenatti’s use of a computer to work on his defense (as opposed to actually going on the
26    internet), was unimportant and “hardly the crux of this inquiry.” His statements at that
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1     hearing, before the government’s allegations of actual internet usage were debunked by
2     the evidence and the government changed course,9 are telling:
3

4
            When it really boils down to it, what we are looking for – when I say we are
            looking for it, I’m not sure that we are looking for anything. But I think
5           what the Court is seeking in this inquiry and what I think is the right thing
6           to do is any e-mails between Mr. Steward and Mr. Manheimer as it relates
            to the filing of documents is hardly the crux of this inquiry. I guess I would
7           leave it at that. It really kind of boils down to who is the one who is
8           searching, doing the research, and using that computer? . . . But when it
            really boils down to it, I think that’s just one piece of the puzzle of whether
9           or not Mr. Avenatti is using a device that is connected or has access to the
10          Internet. That’s what we’re talking about. So when it really boils down to
            the search of the -- the communications between Mr. Manheimer and Mr.
11          Steward, if they’re really just the sending of drafts or comments of drafts
12          back and forth, I don’t think anybody is going to ask to look further at that.

13
      [June 11, 2020 Transcript at 6:16-7:15 (emphasis added)]. It bears repeating that there is
14
      no evidence in the record establishing “the crux” of the matter as identified by AUSA
15
      Sagel on June 11 - that Mr. Avenatti ever searched the internet, did research on the
16
      internet, or used a computer that was connected to the internet or had access to the
17
      internet.
18
            D.     The Court’s Framing of the Issue
19
            On August 11, 2020, in ruling on Mr. Avenatti’s motion regarding the Pretrial
20
      Services Report, the Court succinctly stated: “[T]he ultimate question before Court is
21
      whether Avenatti violated the terms of his release by using a computer or other device
22
      which permitted him to access the internet.” (emphasis added) [Docket No. 239, p. 3].
23
      This ruling has not been appealed by the government and remains the law of the case.
24
            9
25             In June, the government initially based their effort to have Mr. Avenatti remanded on
      the allegation that Mr. Avenatti had engaged in widespread use of the internet. When it was
26    later discovered that there was no evidence to support this allegation and it was completely
27    debunked by the PTS report and Mr. Manheimer’s testimony, the government pivoted to
      arguing that Mr. Avenatti’s brief use of a computer with the internet disabled was enough to
28    have him remanded.
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1           E.     The Pretrial Services Report
2           The Pretrial Services Digital Forensic Examination Report (the “Report”) provides
3     no evidence that Mr. Avenatti violated any of his conditions of release. Despite a
4     thorough forensic examination of five devices found in Mr. Manheimer’s residence
5     (following a top to bottom search by multiple officers), the Report makes it clear that no
6     evidence was found suggesting Mr. Avenatti had accessed the Internet. See, e.g., page 4:
7     “It does not appear this device was used to access internet web sites of evidentiary
8     interest.” Further, while the Report references that various Word and pdf files relating to
9     Mr. Avenatti’s criminal cases were located on Mr. Manheimer’s computer and attached
10    to various emails10 sent to and from Mr. Avenatti’s lawyers through Mr. Manheimer, this
11    is hardly surprising considering that (a) Mr. Manheimer is a permitted conduit and
12    assistant for Mr. Avenatti in all of his legal matters and (b) Mr. Manheimer has routinely
13    assisted Mr. Avenatti and his counsel on Mr. Avenatti’s cases with a multitude of tasks,
14    including creating pdfs (see, e.g., Manheimer deposition testimony [Docket No. 200-1 at
15    53:3-6]; Steward Decl. ¶¶ 9-10). Most importantly, addressing the Court’s ruling from
16    August 11, 2020, there is nothing in the Report suggesting, let alone establishing, that
17    Mr. Avenatti used “a computer or other device which permitted him to access the
18    internet.” (emphasis added).
19          F.     Mr. Manheimer’s Testimony
20          In an effort to have Mr. Avenatti remanded to custody, the government relies on
21    an incomplete and distorted presentation of the testimony from Mr. Manheimer’s three
22    and a half hour public deposition on June 17, 2020.11 Moreover, the government treats
23

24          10
               Mr. Manheimer utilizes a cloud-based email program, Gmail, which means that few
25    emails are saved or accessible locally on the computer that was searched. They are instead
      stored on a cloud server. In other wordsAs a result, the emails referenced in the Report are only
26    a subset of all of the emails that were sent to and from Mr. Avenatti via Mr. Manheimer.
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            11
               The manner in which the government conducted Mr. Manheimer’s deposition was
      generally improper, overly intrusive, and prejudicial to Mr. Manheimer and Mr. Avenatti. It
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1     select portions of Mr. Manheimer’s testimony as gospel when it suits their effort to
2     remand Mr. Avenatti, but then remarkably claims in that same motion that Mr.
3     Manheimer’s testimony is completely untrustworthy and cannot be relied upon. In
4     reality, an objective reading of Mr. Manheimer’s deposition reveals the following, all of
5     which demonstrate that the government’s attempt to remand Mr. Avenatti is
6     unreasonable (citations are to the Manheimer deposition transcript and his changes as
7     permitted under the federal rules – Docket Nos. 200-1 and 200-2): (a) Mr. Manheimer
8     has not observed Mr. Avenatti violating any of his conditions of release nor does he have
9     any reason to believe that he has [100:2-8]; (b) Mr. Avenatti has taken his bail
10    conditions seriously at all times and they have been important to him [110:16-25]; (c)
11    when Mr. Manheimer heard that the government was alleging Mr. Avenatti had violated
12    his bail conditions, he was “shocked” and “didn’t know where it was coming from.” [8-
13    12]; (d) Mr. Manheimer acts as Mr. Avenatti’s paralegal, including sending and
14    receiving emails, printing emails, taking dictation, replying to emails, and doing “all the
15    work,” including internet searches, to assist with Mr. Avenatti’s defense [17:4-12]; (e)
16

17    was correctly described by one media outlet as “chaotic.” See “Feds Probe Avenatti’s
      Custodian in Chaotic Phone Deposition” available at:
18    https://www.law360.com/articles/1284204/feds-probe-avenatti-s-custodian-in-chaotic-phone-
      deposition. Among other things, (a) AUSAs Sagel and Andre both asked questions of Mr.
19
      Manheimer in a “tag team” effort until defense counsel objected to their continued use of the
20    tactic; (b) the government asked a litany of questions that were irrelevant to the reason the
      Court granted the deposition, including questions relating to whether Mr. Manheimer has had
21    anyone spend the night at his residence, how often Mr. Manheimer goes running or surfing,
22    what kind of non-monetary support/gifts Mr. Avenatti has received since his release (i.e. food),
      Mr. Manheimer’s social media accounts and habits, the details of Mr. Manheimer’s banking
23    information, how often Mr. Avenatti has seen his minor daughters, what Mr. Avenatti has done
      with his minor daughters when they visited, and whether Mr. Manheimer has ever witnessed
24
      Mr. Avenatti attempt to remove his ankle bracelet; and (c) the government required that Mr.
25    Avenatti call-in to the deposition on the same phone line that they established for the general
      public, which resulted in him not being able to hear questions and answers in many instances
26    because, as the press reported, observers did not mute their phones while at the same time they
27    were engaging in various activities such as loudly watching TV, eating, talking to others,
      picking up take-out food, and literally yelling things to others like “Take out the trash!”
28    “Where’s my laundry?” and “I’m on the deposition!”
                                                     11
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1     Mr. Manheimer sends Mr. Steward PDFs, among other things, related to Mr. Avenatti’s
2     cases. He assists in compiling documents and converting them to PDF [52:22 – 53:9,
3     65:6-8]; (f) Mr. Manheimer has scanned documents for Mr. Avenatti [42:17-19]; (g) it is
4     very difficult for Mr. Manheimer to keep track of everything he has done for Mr.
5     Avenatti [55:1-2]; (h) Mr. Avenatti does not access the internet and any searches on the
6     internet must have been done by Mr. Manheimer [66:20 – 67:3]; (i) when asked whether
7     Mr. Avenatti searched for specific articles, Mr. Manheimer testified “No” and further
8     testified that any searches and attaching of articles was done by Mr. Manheimer [70:2-4,
9     71:21 – 72:15]; (j) Mr. Manheimer does not recall Mr. Avenatti creating any document
10    from scratch on Mr. Manheimer’s computer [79:17-19]; (k) Mr. Manheimer has taken
11    steps to ensure Mr. Avenatti does not access the Internet. They include ensuring that all
12    of his devices have passwords unknown to Mr. Avenatti and that “everything goes
13    through [Manheimer]” [17:4-12]; (l) Mr. Manheimer’s internet access at his home is
14    through a Wi-Fi router that is password protected and Mr. Avenatti does not have the
15    password [43:4-8]; (m) Mr. Manheimer has not seen Mr. Avenatti access the internet
16    since his release [44:9-12] and since his release, Mr. Avenatti has not done anything to
17    lead Mr. Manheimer to believe Mr. Avenatti has accessed the internet [44:17-20]; (n)
18    Mr. Avenatti has not said anything to lead Mr. Manheimer to believe Mr. Avenatti has
19    accessed the internet [44:21-24]; (o) since Mr. Avenatti’s release, Manheimer has not
20    done anything to attempt to conceal his internet usage or any websites visited on any of
21    his devices [48:9-25; 107:20 – 108:6]; (p) Mr. Manheimer has not seen Mr. Avenatti use
22    any digital device to conduct any financial transactions [98:17-20]; (q) Mr. Manheimer
23    has not conducted any financial transactions on Mr. Avenatti’s behalf nor has he used the
24    Internet to access any bank or financial account of Mr. Avenatti [98:21-23; 99:3-6]; (r)
25    Mr. Manheimer has searched the Internet for Mr. Steward in connection with Mr.
26    Avenatti’s legal cases [17:18-20]; (s) Mr. Manheimer does not recall every search
27    because he has his own life and is doing his own things. [18:11-14]; (t) Mr.
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1     Manheimer’s memory as to all of the things he did for Mr. Avenatti and his lawyers in
2     late May and early June is not great because it was around the one-year anniversary of
3     his father’s death [54:11-14]; (u) Mr. Manheimer’s main computer, his MacBook laptop,
4     is password protected and Mr. Avenatti does not have the password to unlock the
5     computer. There was one time, possibly two, Mr. Manheimer believes, when Mr.
6     Steward directed Mr. Avenatti and Mr. Manheimer to use the computer for something
7     related to one of Mr. Avenatti’s cases, while the Internet was disabled and with Mr.
8     Manheimer supervising everything Mr. Avenatti did “right next to him, right behind
9     him” [34:7 – 35:24; 73:1-7]; (v) Mr. Avenatti has not asked to use the MacBook [34:22-
10    24]; (x) Mr. Avenatti never had access to Manheimer’s other two computers [37:4-8]; (y)
11    Mr. Manheimer has an iPad that is password protected and Mr. Avenatti does not know
12    the password. Mr. Avenatti has never been seen using the iPad and has not asked to use
13    the iPad [38:3-24]; (z) Mr. Avenatti has not been seen possessing any tablet [39:5-8];
14    (aa) Mr. Manheimer has a smart phone that is password protected and Mr. Avenatti does
15    not know the password. Mr. Avenatti has never asked to use the phone except for a
16    conference call with Officer Davis of Pre-trial Services and Mr. Manheimer [39:12 –
17    40:17]; (bb) Mr. Avenatti has not been seen possessing any smart phone [40:18-20]; (cc)
18    Mr. Avenatti has not been seen using Mr. Manheimer’s Apple TV for any other purpose
19    other than watching TV [41:21-25]; (dd) Mr. Manheimer has done other things with
20    other lawyers for Mr. Avenatti other than Mr. Steward [62:8-20]; (ee) Mr. Manheimer
21    has communicated with at least six lawyers for Mr. Avenatti via email. [112:4-14;
22    113:20-22]; (ff) Mr. Manheimer did not discuss his testimony with Mr. Avenatti before
23    the deposition nor did he talk with Mr. Avenatti about what he was going to say [102:14-
24    19]; and (gg) Mr. Manheimer has not received any compensation or promise of
25    compensation for serving as Mr. Avenatti’s third-party custodian [8:3-12].
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1            Most importantly, again addressing the Court’s ruling from August 11, 2020, there
2     is nothing in Mr. Manheimer’s testimony establishing that Mr. Avenatti used “a
3     computer or other device which permitted him to access the internet.” (emphasis added).
4

5     III.   ARGUMENT
6            A.    Mr. Avenatti’s Constitutional Right to Work on His Defense Must Be
7                  Respected and Afforded Deference
8            For months now, the government has complained time and again that Mr. Avenatti
9     is working on his criminal defense by, among other things, drafting and editing
10    documents. The Sixth Amendment to the United States Constitution and over 200 years
11    of legal jurisprudence, however, guarantee Mr. Avenatti this right. It is black-letter law
12    in the United States that a criminal defendant is permitted to protect his liberty, defend
13    himself and assist counsel in his criminal defense. See, e,g., McCoy v. Louisiana, 138
14    S.Ct. 1500, 1507-08 (2018) (noting that the Sixth Amendment “speaks of the assistance
15    of counsel of counsel, and an assistant, however expert, is still an assistant” and that “the
16    accused, not a lawyer, is master of his own defense.”) (quoting Faretta v. California, 422
17    U.S. 806, 819-20 (1975) and Gannett Co. v. DePasquale, 443 U.S. 368, 382 n. 10
18    (1979); see also, United States v. Read, 918 F.3d 712 (9th Cir. 2019). Indeed, the “Sixth
19    Amendment does not provide merely that a defense shall be made for the accused; it
20    grants to the accused personally the right to make his defense . . . The need to protect
21    the individual's role in the defense is punctuated by the fact that it is the defendant and
22    no one else who confronts a loss of liberty.” Faretta, 422 U.S. at 819, 834. Thus, Mr.
23    Avenatti is permitted to review documents and discovery, draft documents, work and
24    comment on pleadings, communicate with his counsel, and conduct research in
25    connection with each of his legal matters, this case included. This is especially true for
26    Mr. Avenatti, who has skills and knowledge as a 20-year attorney.
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1           Meanwhile, the government, in its effort to convict Mr. Avenatti, is not permitted
2     to infringe on these rights or attempt to intimidate Mr. Avenatti into not assisting in his
3     defense. Nor is the government permitted to pursue the erection of barriers and obstacles
4     to prevent Mr. Avenatti from exercising these most basic of Constitutional rights.
5     Undersigned counsel knows of no authority holding otherwise. Accordingly, Mr.
6     Avenatti’s exercise of his right to participate in his defense must be respected and
7     afforded significant deference at all times, including in connection with the Motion.
8           B.     The Evidence Is Insufficient to Demonstrate Mr. Avenatti Violated Any
9                  of His Bail Conditions
10          The government has failed to offer any evidence that Mr. Avenatti has accessed
11    the internet since his release or “violated the terms of his release by using a computer or
12    other device which permitted him to access the internet.” See Order at p.3 [Docket No.
13    229] (emphasis added). Nor is there any evidence that Mr. Avenatti (a) possessed, used
14    or accessed any “internet-enabled devices” outside the presence of counsel or (b)
15    possessed, used or accessed any device that offered or allowed internet access. [Docket
16    No. 140, ¶¶ 12,13].
17          Further, Mr. Avenatti’s use of Mr. Manheimer’s computer, on one or two
18    occasions over three months ago, at the direction of his counsel, to specifically work on
19    his criminal defense, with the internet disabled, under the supervision of Mr. Manheimer,
20    does not constitute a violation of his bail conditions. In an effort to argue otherwise, the
21    government takes a number of liberties with the facts and evidence in its Motion,
22    including suggesting that Mr. Manheimer merely turned off the Wi-Fi at the computer
23    [Docket No. 15, fn. 7]. But there is no evidence of this. During their over three-hour
24    deposition of Mr. Manheimer, the government never asked Mr. Manheimer about how
25    the Internet “was not accessible” or how he “turned the Internet off.” Generally, the
26    Internet is turned off by powering an internet router down, disconnecting or unplugging
27    the router, and/or turning off the Wi-Fi connection on the computer. All of these
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                                                   15
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1     approaches provide the same result – a computer that is unable to access the internet and
2     a computer user who is unable to access the internet.
3            And even if Mr. Manheimer had turned off the Wi-Fi at the computer, Mr.
4     Avenatti’s use of that computer would not have constituted a violation his bail
5     conditions. As the table attached as Exhibit B shows, the words “enabling” and
6     “disabling” are commonly used as synonyms for “turning on” and “turning off” WiFi on
7     digital devices, and the term “internet-disabled” is commonly used - by the U.S.
8     government, news media, technology experts, telecommunications companies, and web
9     app developers, to name a few - to refer to devices where the WiFi function has been
10    turned off, blocked, or rendered inoperable.12
11           All of this is consistent with the Webster’s dictionary definition of “enable,”
12    which is to “make (something) possible, practical, or easy,” or “to cause (a feature or
13    capability of a computer) to be active or available for use.”13 To “disable,” by the
14    Webster’s definition, is “to make ineffective or inoperative.”14 Similarly,
15    Dictionary.com provides a definition for “enable” specific to a digital technology
16    context: “to make (a device, a system, or feature) active or functional; turn on.”15 The
17    Macmillan Dictionary also provides a definition for “enable” in a computing context:
18    “To allow a device or system to work,” as in, “Please enable Javascript in your browser.”
19    Here too, “enable” is presented as synonymous with “turn on.”16
20

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             12
                To give just one example (in addition to those provided in Exhibit B), to turn WiFi on
22    or off in Windows Operating Systems, users select commands labeled “enabled” and
      “disabled.”
23
             13
               https://www.merriam-webster.com/dictionary/enable, visited September 10, 2020. In
24    other words, to cause an already existing feature or capability (i.e. internet access) to be active
25    and available for use.
             14
                  https://www.merriam-webster.com/dictionary/disable, visited September 10, 2020.
26
             15
                  https://www.dictionary.com/browse/enable, visited September 10, 2020.
27
             16
             https://www.macmillandictionary.com/us/dictionary/american/enable, visited
28    September 10, 2020.
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1            The dictionary definitions of “offer” and “allow” are also illuminating. To “offer”
2     is to “present for acceptance or rejection” and “to make available.”17 To “allow” is to
3     “permit” or “fail to restrain or prevent.”18 There is no evidence that Mr. Avenatti at any
4     time accessed, used or possessed any digital device that (a) made the internet available to
5     him or (b) failed to restrain or prevent him from accessing it. In fact, Mr. Manheimer
6     repeatedly testified to the exact opposite.
7            In addition, if the government’s logic is correct and “internet-enabled” is
8     understood as referring to any device ever “capable”19 of accessing the Internet under a
9     specific set of circumstances, then defendant’s current computer would still be “internet-
10    enabled” even with disabling software installed, because it would still technically retain
11    its native ability to provide access to the internet, even with that ability temporarily
12    constrained by software. Moreover, if “internet-enabled digital device” is understood to
13    refer to any digital device capable of providing internet access under certain conditions
14    (for example, when its Wi-Fi capability is enabled or turned on), defendant’s conditions
15    would also preclude him using any number of common household items capable of
16    connecting to Wi-Fi, including “smart” televisions, household heating and cooling
17    systems, and alarm systems, to name a few.20 This was obviously not the intent of the
18    Court. Rather, the conditions were directed at preventing Mr. Avenatti from having
19    actual access to the internet, so he would not be able to in turn access financial accounts
20    and move assets or transfer monies. This is why the Court correctly centered the issue in
21
             17
                  https://www.merriam-webster.com/dictionary/offer, visited September 10, 2020.
22
             18
                  https://www.merriam-webster.com/dictionary/allow, visited September 10, 2020.
23
             19
               Critically, the word “capable” is not included within the bail conditions relating to the
24    use of devices.
             20
25             When the prosecution examined Mr. Manheimer, they inquired about whether Mr.
      Avenatti watches Netflix and Mr. Manheimer’s Apple TV. He confirmed that Mr. Avenatti
26    does. Similarly, Mr. Manheimer testified that he facilitated a video FaceTime call with PTS
27    and Mr. Avenatti. And yet, the government does not argue that these uses were a violation of
      defendant’s bail conditions, which would be expected if their true understanding of the bail
28    condition is as they claim.
                                                      17
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1     its August Order on whether Mr. Avenatti had used a device that “permitted him to
2     access the internet.” Accordingly, the Motion should be denied.
3           C.     If There Was a Violation, It Was Not Purposeful and Instead Resulted
4                  from a Reasonable Misinterpretation of the Bail Conditions
5           As set forth in paragraphs 11-13 of the concurrently filed Declaration of H. Dean
6     Steward, to the extent that the Court decides any technical violation of the bail
7     conditions occurred, it was done at the advice and direction of counsel, and resulted from
8     an honest mistake and misinterpretation, for which counsel and the defendant apologize
9     to the Court and PTS.
10          Moreover, for over three months now, Mr. Avenatti has had a computer that
11    permits him to do exactly what the government claims he did improperly in late May.
12    As a result, the likelihood of Mr. Avenatti “re-violating” is effectively zero. This is
13    especially true in light of his spotless history of compliance over the last five months
14    with all of the other numerous bail conditions imposed by the Court in connection with
15    his release to home confinement. As set forth above, Mr. Avenatti has fully complied
16    with his other release obligations and has enjoyed an exceptional relationship with
17    Pretrial Services at all times. The government has no evidence to the contrary.
18          D.     There Were No Misrepresentations Made to the Court and the
19                 Government’s Liberties with the Evidence Should Not be Credited
20          Throughout the Motion, the government claims that Mr. Avenatti, through his
21    counsel, made a number of misrepresentations to the Court. In doing so, the government
22    takes great liberties with the evidence and the facts. By way of example only,21 the
23    government claims that Docket No. 179 filed by the defense was not accurate but then
24    offers no evidence showing how it was inaccurate – only suspicion and innuendo. This
25
            21
                In the interest of brevity, the defense will not address every instance of the
26    government claiming that the defense misled the Court. Suffice it to say that the defense stands
27    by its representations. Moreover, the government’s argument that the defense was under an
      affirmative obligation to answer their questions at various hearings upon demand is without any
28    basis.
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1     stands in stark contrast to Mr. Manheimer’s testimony and the declaration of undersigned
2     counsel submitted with this opposition, both of which are entirely consistent with the
3     filing.
4               Similarly, the government claims that “six” pleadings were “created using
5     Manheimer’s computer” and that Defendant “wrote substantial portions of the May 27,
6     2020 Status Report” [Docket No. 262, p. 15.] But this is not a fair characterization of the
7     evidence. During his deposition, Mr. Manheimer acknowledged printing documents to
8     pdf for Mr. Steward and other lawyers of Mr. Avenatti’s so they could be filed. [54.7-
9     11]. While technically this is “creating” a pdf, it is hardly the same as drafting a
10    document from scratch (which Mr. Manheimer testified did not occur). Further, often
11    when Mr. Manheimer would receive a document from one of Mr. Avenatti’s lawyers, he
12    would save that document to his computer, thus “creating” a new file on his computer.
13    This would in turn make him “the author” of the document on his computer. The same
14    thing would happen if he made any changes to a document for any reason (i.e. at the
15    direction of Mr. Avenatti) and saved the document under a different name. This does not
16    mean Mr. Avenatti drafted any document from scratch on Mr. Manheimer’s computer.
17    In sum, it proves nothing.
18              The government has no evidence that Mr. Avenatti physically typed any portion
19    of the May 27, 2020 Status Report or any other document filed in this case for that
20    matter.22 In fact, the government has no idea what Mr. Avenatti was working on at the
21    direction of his counsel in late May/early June (nor, for that matter, should they).
22

23

24              22
               The government makes much out of Mr. Avenatti knowing the content of a footnote in
25    the Status Report and informing the Court at the June 1, 2020 Status Conference that there had
      not been an effort to mislead the Court. This is ridiculous. One need not draft a document to be
26    familiar with its contents nor is it misconduct for Mr. Avenatti, a former trial lawyer, to
27    appreciate the importance of the Court being informed that there had been no effort to mislead
      the Court by the defense. Had the hearing been in person, Mr. Avenatti could have reminded
28    counsel of this fact, who could have in turn notified the Court.
                                                     19
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1           Further, the government’s complaints about the defense’s representations that Mr.
2     Avenatti did not have access to a computer to review over 1,000,000 pages of discovery
3     in this case ring hollow. There is a significant difference between (i) Mr. Avenatti
4     briefly using Mr. Manheimer’s only functioning computer, which Mr. Manheimer uses
5     to work from home as a writer, for one or two urgent tasks at the direction of his counsel,
6     under Mr. Manheimer’s supervision and with the internet disabled, versus (ii) Mr.
7     Avenatti having access to a dedicated computer, for hours upon hours every day, to
8     review over a million of pages of discovery without direct supervision.
9           Finally, the government’s attacks on Mr. Manheimer are without merit. Mr.
10    Manheimer is nearly fifty years old with no criminal record. He has never been arrested,
11    let alone charged with any crime. He is not a lawyer nor does he have experience in the
12    legal arena. He lives a simple life and, before this ordeal, he had never been deposed
13    before, let alone by two federal prosecutors looking to lock someone up. He also
14    testified that he does not recall everything he has done for Mr. Avenatti and his lawyers
15    but it has been a lot. [Docket No. 200-2 at 6]. He further stated that one of the reasons
16    he does not recall the specifics is because he has his own life [18:11-14] – as would be
17    expected. Demanding that someone remember every website they visited on the
18    internet, every document they printed, and every document they briefly edited or saved,
19    all at the direction of other people weeks prior and relating to a field and subject matter
20    in which they have no expertise, is unrealistic. Especially when the person being
21    examined is being asked to do the same thing nearly every day by many lawyers in
22    connection with multiple cases. In sum, Mr. Manheimer testified as would be expected
23    of a lay witness – with candor and humility, and an imperfect memory at times.23
24

25          23
               The government also takes issue with Mr. Manheimer’s deposition changes [Docket
      No. 200-2]. But those changes were made as allowed by the FRCP and only after the
26    government expressly agreed that Mr. Manehimer could review the transcript and make
27    changes if necessary. Further, the corrections cut both ways – some are helpful to the
      government and some are helpful to the defense. Again, this is what one would expect from an
28    honest witness attempting to make sure his testimony is as accurate as possible.
                                                   20
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1           E.     Remanding Mr. Avenatti To Custody is Punitive and Unnecessary,
2                  Especially In light of the Pandemic and its Health Risks
3           Even characterizing the facts in the most negative fashion to Mr. Avenatti, as the
4     government is wont to do, remanding Mr. Avenatti to custody is punitive and
5     unnecessary. At worst, Mr. Avenatti used a computer on one or two occasions to work
6     on his legal defense at the direction of his criminal defense counsel. He did not access
7     the internet, attempt to access the internet, or ever have the ability to access the internet.
8     He did not intentionally violate this Court’s Orders, nor did he purposely disrespect this
9     Court or any other Court. The facts and circumstances surrounding Mr. Avenatti’s
10    alleged conduct pale in comparison to most cases in which violations warranting remand
11    are found to have occurred.
12          Moreover, the risks to Mr. Avenatti were he to be remanded remain unusually
13    high. See generally, Asfour Decl. The Court has already found that extraordinary
14    circumstances existed that justified Mr. Avenatti’s release. These circumstances
15    centered on the health of Mr. Avenatti and the risk to him and others were he to remain
16    in custody. None of these circumstances have diminished. The prosecution also offers
17    no evidence to rebut this Court’s prior determination that Mr. Avenatti’s health places
18    him at a heightened risk. And the evidence submitted with this opposition (i.e. the Asfour
19    Decl.) only further solidifies that prior determination. Even if the Court finds that Mr.
20    Avenatti engaged in a technical violation of his bail conditions, such a violation does not
21    warrant Mr. Avenatti suffering serious injury or a death sentence. See, e.g., U.S. v.
22    Zuckerman, 2020 WL 1659880, at *6 (S.D.N.Y. April 3, 2020) (“When the Court
23    sentenced [the defendant], the Court did not intend for that sentence to include incurring
24    a great and unforeseen risk of severe illness or death brought on by a global pandemic.”);
25    U.S. v. Park, 2020 WL 1970603, *2, 6 (S.D.N.Y. April 24, 2020) (“The Court fears that
26    leaving Ms. Park any longer at FCI Danbury may convert a three-year prison sentence
27    into a death sentence. And that the Court cannot allow. . . The nature of prisons –
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                                                    21
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1     crowded, with shared sleeping spaces and common areas, and often with limited access
2     to medical assistance and hygienic products – put those incarcerated inside a facility with
3     an outbreak at heightened risk.”).
4           The government asserts, without any evidence, that the current health risk to Mr.
5     Avenatti is less than the health risk that he faced when this Court ordered him released
6     on March 27. This claim has no basis in fact and defies science and logic. A simple
7     comparison of the data from March 27, 2020 [the date of the Order at Docket No. 128]
8     and from two days ago shows the drastic increase in risk, cases and deaths. See Exhibit
9     A attached hereto. Even though cases of COVID-19 in California and Los Angeles and
10    Orange Counties have decreased for the moment from their peak of a few weeks ago,
11    they are still exponentially greater than when this Court correctly demonstrated concern
12    for Mr. Avenatti’s health and ordered him released. Moreover, public health experts still
13    predict a coming “second wave” of the virus, “possibly at a catastrophic scale.”24
14          Meanwhile, Mr. Avenatti’s health conditions and risk for serious health
15    complications or even death were he to contract the virus have remained constant. Mr.
16    Avenatti is not healthier today than when he was ordered released. And while the
17    prosecutors, in their enthusiasm to remand Mr. Avenatti for any conceivable reason, may
18    think that it would be no big deal were Mr. Avenatti to contract the virus in a crowded
19    jail that is at capacity (i.e. no beds), where social distancing and adequate protections are
20    impossible to implement, the real life consequences could be catastrophic. See, e.g.,
21    Asfour Decl. Indeed, the result could very well be Mr. Avenatti’s death or serious,
22    permanent injury, including permanent heart or lung damage, and/or diminished
23    cognitive ability. See id.
24          Moreover, any attempt by the government to use claims of alleged low cases at
25
            24
               Dr. Robert Redfield, director of the CDC, has predicted that Fall 2020 may be the
26    “worst” in U.S. history, from a public health perspective.
27    https://www.webmd.com/lung/news/20200812/redfield-this-fall-could-be-the-worse-weve-
      seen. See also https://www.washingtonpost.com/health/coronavirus-fall-projections-second-
28    wave/2020/09/04/6edb3392-ed61-11ea-99a1-71343d03bc29_story.html
                                                   22
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1     SAJ and MCC Los Angeles should be given little weight, especially in light of the well
2     documented issues surrounding the reporting of COVID-19 cases in jails and prisons,
3     including by the BOP.25 See, e.g., Exhibit C attached hereto. In fact, a low case number
4     means nothing unless it is considered with data reflecting the rate of testing because, as
5     we all now know, unless you are doing widespread testing, you do not know whether a
6     facility or community actually has a low infection rate. You don’t find what you don’t
7     look for. Further, any number the government may attempt to use is still greater than the
8     number of confirmed cases during the pandemic at Mr. Manheimer’s residence: ZERO.
9            Nor does a low number lead to the determination that the risk to Mr. Avenatti is
10    minimal. See, e.g., U.S. v. White, 2020 WL 3960830 (D. Md. July 10, 2020) (that there
11    are currently no reported cases of coronavirus at a prison “is not dispositive of whether
12    an extraordinary and compelling reason exists” to reduce a sentence . . . and “it makes
13    little sense to wait for such an outbreak before considering defendant’s request for
14    health-based compassionate release . . .” and “while the BOP’s efforts at containing the
15    spread of COVID-19 are commendable, they by no means eliminate the risks to
16    prisoners like White . . . the happy fact that there have been no positive tests yet at [the
17    prison] does not prevent the finding of extraordinary and compelling reasons for
18    release.”); U.S. v. Rountree, 2020 WL 2610923, at *5 (N.D.N.Y. May 18, 2020) (prisons
19    are “powder kegs for infection” that have allowed “the COVID-19 virus to spread with
20    uncommon and frightening speed.”); U.S. v. Young, 2020 WL 2514673, at *2 (D. Mass.
21    May 15, 2020) (“the virus can appear suddenly and spread quickly in the prison
22    population”).26
23

24           25
               https://www.cnn.com/2020/08/08/us/federal-prison-coronavirus-outbreak-
25    invs/index.html
             26
                In July, the American Medical Association confirmed that “COVID-19 case rates have
26
      been substantially higher and escalating much more rapidly in prisons than in the U.S.
27    population.” The Journal article further provides a telling chart on the rate of coronavirus
      infection in prisons versus the wider population, and there can be no dispute – prisons are vastly
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                                                      23
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1           In addition, Mr. Avenatti’s exposure to people and risks is far less on home
2     confinement than it could ever be at any correctional facility.27 Indeed, other than his
3     attorneys, Mr. Avenatti has not had any significant personal interaction with anyone who
4     has not either tested negative for COVID-19, or has the antibodies, or both. By design,
5     his exposure to the outside world since April 24, 2020 has been very limited. While he
6     is confined to Mr. Manheimer’s residence, Mr. Avenatti has also retained the ability to
7     limit his contact with persons who are at high risk for contracting the virus and
8     transmitting it, as well as persons who fail to take precautions. If he is remanded to
9     custody, Mr. Avenatti will no longer have the ability to utilize these self-protective
10    measures or distance himself from individuals – whether inmates or staff – who are
11    unable or refuse to take such precautions. He will likewise have no ability to voluntarily
12    follow a litany of recent CDC guidelines to avoid becoming infected.28
13          Finally, the defense previously enumerated the many burdens and impediments to
14    preparing Mr. Avenatti’s defense that resulted from Mr. Avenatti’s previous
15    incarceration, including but not limited to his lack of access to counsel and discovery.
16    [Docket No. 164, pp. 6-13]. They will not be repeated here. But as the Court is aware,
17    were Mr. Avenatti to be remanded to custody now, he would almost certainly face the
18    same, if not more serious, challenges when it comes to participating in his defense,
19    reviewing discovery and preparing for his two remaining trials, including the trial set in
20

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22

23    more dangerous. See B. Saloner, Ph D., et al., Covid-19 Cases and Deaths in Federal & State
24    Prisons, J. Am. Med. Assoc. (July 8, 2020). The researchers found that the infection rate for
      prisoners was 5.5 times higher than the U.S. population and the death rate in the prison
25    population was 3.0 times higher.
            27
26             The risks inherent to correctional facilities have been the subject of extensive
      reporting and analysis by leading public health experts, including in testimony before Congress.
27
            28
               See, e.g., https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-
28    sick/prevention.html, visited September 10, 2020.
                                                     24
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1     this matter. His access to counsel and information would drastically decrease,29 while
2     the number of additional practical, logistical, and scheduling challenges of proceeding
3     with Mr. Avenatti’s case would increase, further burdening the Court and the
4     government, and causing unneeded delays.
5            F.       Mr. Manheimer Should Be Permitted to Remain as Mr. Avenatti’s
6                     Third-Party Custodian
7            Contrary to the claims of the government, there is no evidence or deposition
8     testimony suggesting that Mr. Manheimer is no longer a proper third-party custodian for
9     Mr. Avenatti. Nor can the government point to anything from PTS that questions Mr.
10    Manheimer’s ability or qualification to remain in his role. He has done everything asked
11    of him by PTS and has enjoyed an excellent, issue-free relationship with PTS. Finally,
12    Mr. Manheimer works from home and only occasionally leaves his residence, meaning
13    he is a uniquely qualified custodian because he can supervise Mr. Avenatti on an almost
14    hourly basis. There is no legitimate reason to order Mr. Manheimer replaced.30
15

16    IV.    CONCLUSION
17           The Court should deny the motion and order that Mr. Avenatti remain on home
18    confinement for an additional sixty (60) days under the conditions previously imposed.
19

20    Dated: September 11, 2020                    Respectfully submitted,
21
                                                   /s/ H. Dean Steward
                                                   H. DEAN STEWARD
22

23                                                 Attorney for Defendant
                                                   MICHAEL JOHN AVENATTI
24

25           29
                 For instance, upon the advice of his physician, undersigned counsel has not been able
26    to visit any client in jail or prison since early March. Counsel also understands that all attorney
      visits at the Santa Ana Jail are presently “no contact.” See Steward Decl. ¶15. It is impossible
27    to prepare for a case of this magnitude under these conditions. See id. at ¶¶15-16.
28           30
                  If necessary, the defense will identify a new third-party custodian.
                                                        25
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26                           EXHIBIT A – STATISTICS/DATA
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                             COVID-19 STATISTICS/DATA

 Description                                            As of March 27       As of Sept 9

 Total U.S. Cases                                       85,5001              6.3 million+2

 Daily New U.S. Cases                                   17,3303              33,2014

 Total U.S. Deaths                                      1,2965               190,7146

 Total CA Cases*                                        4,6007               749,1968

 CA New Daily Cases                                     8559                 3,08310

 Total CA Deaths                                        11011                13,99012

 Total LA County Cases13                                1,465                249,859

 Total LA County Deaths14                               26                   6,090

 Total OC Cases                                         32115                50,19016




 1
   https://khn.org/morning-breakout/first-edition-march-27-2020/
 2
   https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 3
   https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 4
   https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 5
   https://khn.org/morning-breakout/first-edition-march-27-2020/
 6
   https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 7
   https://www.latimes.com/projects/california-coronavirus-cases-tracking-outbreak/
 8
   https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 9
   https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 10
    https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 11
    https://www.sacbee.com/news/coronavirus/article241587491.html
 12
    https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 13
    Los Angeles County Department of Health
 (http://publichealth.lacounty.gov/phcommon/public/media/mediapubhpdetail.cfm?prid=2285 and
 http://publichealth.lacounty.gov/media/coronavirus/data/index.htm)
 14
    Los Angeles County Department of Health
 (http://publichealth.lacounty.gov/phcommon/public/media/mediapubhpdetail.cfm?prid=2285 and
 http://publichealth.lacounty.gov/media/coronavirus/data/index.htm)
 15
    Orange County data (as reported in https://www.ocregister.com/2020/03/27/orange-county-
 releases-coronavirus-case-counts-by-city-announces-2-more-deaths/)
 16
    Orange County Health Care Agency (https://occovid19.ochealthinfo.com/coronavirus-in-oc)

                                             1
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 Total OC Deaths                                            317                   1,06518

 7 Day Daily Moving Average – U.S. Cases                    12,12719              36,73320

 7 Day Daily Moving Average – CA Cases                      51921                 3,88022

 Total Projected U.S. Deaths                                                      410,00023

 Total Cases in U.S. Jails/Prisons                                                121,15624

 Total Deaths in U.S. Jails/Prisons                                               1,01725

 Total Cases in CA Jails/Prisons**                                                11,38826

 Total Deaths in CA Jails/Prisons                                                 5927

 Total Cases in BOP                                         1428                  13,14429

 Total Deaths in BOP                                        030                   11831




 17
    Orange County data (as reported in https://www.ocregister.com/2020/03/27/orange-county-
 releases-coronavirus-case-counts-by-city-announces-2-more-deaths/)
 18
    Orange County Health Care Agency (https://occovid19.ochealthinfo.com/coronavirus-in-oc)
 19
    https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 20
    https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html
 21
    https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 22
    https://www.nytimes.com/interactive/2020/us/california-coronavirus-cases.html#county
 23
    Total deaths predicted by January 1, 2021: https://www.cnbc.com/2020/09/04/key-
 coronavirus-forecast-predicts-over-410000-total-us-deaths-by-jan-1.html
 24
    This represents a five percent increase from the week before. “New cases among prisoners
 reached an all-time high in early August after slowing down in June. The growth in recent weeks
 was driven by big jumps in prisoners testing positive in Florida, California and the federal
 Bureau of Prisons.” https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-
 coronavirus-in-prisons
 25
    https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons
 26
    https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons
 27
    https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons
 28
    https://www.reuters.com/article/us-health-coronavirus-usa-inmates-insigh/spread-of-
 coronavirus-accelerates-in-u-s-jails-and-prisons-idUSKBN21F0TM
 29
    https://www.bop.gov/coronavirus/
 30
    https://www.usnews.com/news/us/articles/2020-03-28/federal-inmate-serving-time-for-drug-
 charge-is-first-inmate-to-die-from-covid-19
 31
    https://www.bop.gov/coronavirus/

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 * “Experts say the true number of people infected [in CA] is unknown and likely much higher
 than official tallies.”32
 **The number of known cases per 10,000 people in CA Jails/Prisons is 494 percent higher than
 in CA overall.33




 Source: Statista https://www.statista.com/chart/21895/covid-in-prison-system/




 Source: https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-
 prisons

 32
      https://www.latimes.com/projects/california-coronavirus-cases-tracking-outbreak/
 33
      https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons

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26                           EXHIBIT B - USAGE OF TERMS
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      SOURCE                  USE

 1.   TechRepublic.com:       Online article title: “Disable Internet access on a Windows PC: Learn several options
      An online trade         for disabling Internet access on a single system while still allowing other systems on the
      publication for IT      same network to access the Internet.”1
      professionals.

 2.   Linksys.com: The        Router feature description: “Allow Users to Disable Internet Access – This option allows
      website of the          the user to prohibit any connections. Select Enabled if you want to be able to prohibit any
      wireless networking     and all internet connections. Otherwise, keep the default setting Disabled.”3
      equipment
      company.2

 3.   U.S. Department of      From “Best Practices for Keeping Your Home Network Secure:” “To prevent attackers
      Defense publication     from probing the network via home entertainment devices, if possible, disconnect these
                              systems from the Internet when not in use. Some ISP modems/routers have a standby
                              button you can use to disable the Internet connection.”4

 4.   Forbes: “Want To        “The novelist, Jonathan Franzen, author of Freedom, famously removed his laptop’s Wi-Fi
      Work From Home?         card, so he could write a novel without getting distracted by the internet. This represents a
      Master These Three      hardcore approach, but you can disable internet access for 30 or 60 minutes using apps
      Skills”                 like Freedom or Rescue Time software.”5

 5.   U.S. Customs &          “Officers will either request that the traveler disable connectivity to any network (e.g.,
      Border Protection       by placing the device in airplane mode), or, where warranted by national security, law
      policy                  enforcement, officer safety, or other operational considerations, Officers will themselves
                              disable network connectivity.”6

 6.   LifeWire.com: A         “How to Disable A Network Connection.” Article guides readers through seven steps,
      technology website      including selecting “Disable” under the “Network Connections” screen in Windows XP.
      with 6 million          Once all steps are completed, “The internet connection is disabled.” “Windows XP
      unique monthly          supports a Repair option for wireless connections. This feature disables and re-enables
      visitors.7              the Wi-Fi connection in one step.”8

 7. MIT.edu: The top-         Instructions for accessing the internet on campus: “For guests visiting the campus, IS&T
      ranked computer         provides an open wireless network called MIT GUEST. It doesn’t require authentication
      science school in the   and is not encrypted. Visitors need to make sure their wireless card is on and enabled
      world.9                 before selecting MIT GUEST as their wireless network option.”10

 8.   Microsoft.com           “Windows Forum” article: “How to enable WiFi on Windows 7.”11

 9.   Sonos.com: The          Article: “How to disable or enable WiFi on your Sonos players.
      website of audio
      product company

 10. Lenovo.com               From “How to turn wireless WiFi on/off…”: “Under Wireless Devices, choose whether
                              to enable or disable WiFi and Bluetooth.”12

 11. Cox.com:                 Modem instructions: “Enable WiFi by pressing this button for 3 seconds.”13
     Telecommunications
     company website

 12. CenturyLink.com:         “Enable WiFi on a laptop: Sometimes the wireless on your computer accidentally gets
     Telecommunications        turned off…Some laptops have a WiFi button that can be switched On or Off. The
     company website           location of the button varies, but most frequently is found on the front edge or just above
                               the keyboard. When enabled, the button should be illuminated as blue or green.”14



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 13. ComputerHope.com:      “Laptops today all have Wi-Fi (wireless Internet) built-in, allowing people to connect to
     Computer help site      the Internet from almost anywhere. For security reasons, compatibility, or other reasons,
                            you may want to enable and disable the Wi-Fi on your laptop.”15

 14. Wall Street Journal   “He purchased a new mobile phone with Google’s Android operating system, put it in
                           airplane mode, disabled the WiFi and stuck it in the glove compartment of his pickup
                           truck.”16

 15. Ford.com: Ford        “How to turn your vehicle into a WiFi hotspot:” “…Enable WiFi on your phone and
     Motor Company          mobile devices…”17
     website




 1
    https://www.techrepublic.com/article/disable-internet-access-on-a-windows-pc/
 2
    https://www.bloomberg.com/profile/company/126157Z:US
 3
    https://www.linksys.com/nz/support-article?articleNum=135071
 4
   https://dodcio.defense.gov/Portals/0/Documents/Cyber/Slicksheet_BestPracticesForKeepingYo
 urHomeNetworkSecure_Web_update.pdf
 5
    https://www.forbes.com/sites/bryancollinseurope/2020/02/13/work-from-
 home/#724364d55606
 6
    https://www.cbp.gov/sites/default/files/assets/documents/2018-Jan/CBP-Directive-3340-049A-
 Border-Search-of-Electronic-Media-Compliant.pdf
 7
    https://www.thedrum.com/news/2017/03/02/the-verge-rebrand-aboutcom-launches-fourth-
 vertical-site
 8
    https://www.lifewire.com/enabling-network-connections-in-windows-818245
 9
    https://news.mit.edu/2020/qs-world%E2%80%99s-no-1-university-2020-21-0609
 10
     https://ist.mit.edu/news/mitnet_options
 11
     https://answers.microsoft.com/en-us/windows/forum/all/how-to-enable-wifi-on-windows-
 7/65baceb5-1aac-4222-bce7-b7d66e4b46b7
 12
     https://support.lenovo.com/us/en/solutions/ht500407
 13
     https://www.cox.com/residential/support/netgear-c6300bd.html
 14
     https://www.centurylink.com/home/help/internet/wireless/enable-wifi-on-a-laptop.html
 15
     https://www.computerhope.com/issues/ch001410.htm
 16
     https://www.wsj.com/articles/oracles-man-in-washington-fans-the-flames-against-rival-tech-
 giants-11581615873
 17
     https://owner.ford.com/support/how-tos/sync-technology/myford-touch/phone/how-to-turn-
 your-vehicle-into-a-wifi-hotspot.html

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26                           EXHIBIT C - NY TIMES ARTICLE
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9/10/2020                      Coronavirus
            Case 8:19-cr-00061-JVS         Cases Rise Sharply
                                       Document         271in Prisons
                                                               FiledEven as They Plateau
                                                                      09/11/20           Nationwide
                                                                                       Page     40 -of
                                                                                                    The44
                                                                                                       New York
                                                                                                            PageTimesID #:3816

                                 https://nyti.ms/3hxhdOs



Coronavirus Cases Rise Sharply in Prisons Even as They Plateau Nationwide
Prison ofﬁcials have been reluctant to do widespread virus testing even as infection rates are escalating.

By Timothy Williams, Libby Seline and Rebecca Griesbach

Published June 16, 2020   Updated June 30, 2020


Cases of the coronavirus in prisons and jails across the United States have soared in recent weeks, even as the overall
daily infection rate in the nation has remained relatively ﬂat.

The number of prison inmates known to be infected has doubled during the past month to more than 68,000. Prison
deaths tied to the coronavirus have also risen, by 73 percent since mid-May. By now, the ﬁve largest known clusters of
the virus in the United States are not at nursing homes or meatpacking plants, but inside correction institutions,
according to data The New York Times has been collecting about conﬁrmed coronavirus cases since the pandemic
reached American shores.

And the risk of more cases appears imminent: The swift growth in virus cases behind bars comes as demonstrators
arrested as part of large police brutality protests across the nation have often been placed in crowded holding cells in
local jails.

A muddled, uneven response by corrections ofﬁcials to testing and care for inmates and workers is complicating the
spread of the coronavirus. In interviews, prison and jail ofﬁcials acknowledged that their approach has largely been
based on trial and error, and that an effective, consistent response for U.S. correctional facilities remains elusive.

“If there was clearly a right strategy, we all would have done it,” said Dr. Owen Murray, a University of Texas Medical
Branch physician who oversees correctional health care at dozens of Texas prisons. “There is no clear-cut right
strategy here. There are a lot of different choices that one could make that are going to be in-the-moment decisions.”

The inconsistent response to the spread of the coronavirus in correctional facilities is in contrast with efforts to halt its
spread in other known incubators of the virus: Much of the cruise ship industry has been closed down. Staff members
and residents of nursing homes in several states now face compulsory testing. Many meat processing plants have been
shuttered for extensive cleaning.

As the toll in prisons has increased, so has fear among inmates who say the authorities have done too little to protect
them. There have been riots and hunger strikes in correctional facilities from Washington State to New York. And even
the known case numbers are most likely a signiﬁcant undercount because testing has been extremely limited inside
prisons and because some places that test do not release the results to the public.

“It’s like a sword hanging over my head,” said Fred Roehler, 77, an inmate at a California prison who has chronic
inﬂammatory lung disease and other respiratory ailments. “Any ofﬁcer can bring it in.”

Public ofﬁcials have long warned that the nation’s correctional facilities would most likely become vectors in the
pandemic because they are often overcrowded, unsanitary places where social distancing is impractical, bathrooms
and day rooms are shared by hundreds of inmates, and access to cleaning supplies is tightly controlled. Many inmates
are 60 or older, and many suffer from respiratory illnesses or heart conditions.


                                       Latest Updates: The Coronavirus Outbreak ›
                                       Updated 2h ago

                                       •   A scaled-back Republican stimulus plan fails in the Senate, dimming
                                           prospects for a deal before the election.


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                                       •   A new study warns the virus is ʻa life-threatening disease in people of all ages.ʼ

                                       •   The C.D.C. says health screenings at airports were not effective in the ʻcurrent
                                           phase of the pandemic.ʼ

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In response, local jails have discharged thousands of inmates since February, many of whom had been awaiting trials to
have charges heard or serving time for nonviolent crimes. State prison systems, where people convicted of more
serious crimes are housed, have been more reluctant to release inmates.

Testing for the virus within the nation’s penal institutions varies widely, and has become a matter of signiﬁcant debate.

Republican-led states like Texas, Tennessee and Arkansas — which generally spend less on prisoners than the national
average — have found themselves at the forefront of testing inmates.

In Texas, the number of prisoners and staff members known to be infected has more than quadrupled to 7,900 during
the past three weeks after the state began to test every inmate.

Yet states that typically spend far more on prisons have carried out signiﬁcantly less testing.

California, which spends $12 billion annually on its prison system, has tested fewer than 7 percent of inmates in several
of its largest, most crowded facilities, according to the state’s data. Other Democratic-led states that also spend heavily
on prisons, including New York, Oregon and Colorado, have also conducted limited testing despite large outbreaks in
their facilities.

New York has tested about 3 percent of its 40,000 prison inmates; more than 40 percent of those tested were infected.

Critics say that the dearth of testing in some facilities has meant that prison and public health ofﬁcials have only vague
notions about the spread of the virus, which has allowed some elected ofﬁcials to suggest that it is not present at all.

“We have really no true idea of how bad the problem is because most places are not yet testing the way they should,”
said Dr. Homer Venters, who served as chief medical ofﬁcer for the New York City jail system and now works for a
group called Community Oriented Correctional Health Services, which strives to improve health care services in local
jails. “I think a lot of times some of the operational challenges of either not having adequate quarantine policies or
adequate medical isolation policies are so vexing that places simply decide that they can just throw up their hands.”


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Most state prison systems have conducted few tests. Systems in Illinois, Mississippi and Alabama have tested fewer
than 2.5 percent of inmates. And in Louisiana, ofﬁcials had tested several dozen of its 31,000 inmates in March when the
warden and medical director at one of the state’s largest prisons died of the coronavirus. The state has since announced
plans to test every inmate.

Prison ofﬁcials in states where only a limited number of inmates have been tested say they are following federal
guidelines. The Centers for Disease Control and Prevention recommend that only prisoners with symptoms be tested.

Prisons that have conducted mass testing have found that about one in seven tests of inmates have come back positive,
the Times database shows. The vast majority of inmates who have tested positive have been asymptomatic.

Public health ofﬁcials say that indicates the virus has been present in prison populations for far longer than had
previously been understood.

“If you don’t do testing, you’re ﬂying blind,” said Carlos Franco-Paredes, an infectious-disease specialist at the
University of Colorado School of Medicine.


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But in California, there continues to be reluctance to test each of the state’s 114,000 inmates, despite growing criticism
to take a more aggressive approach. One in six inmates in the state’s prisons have been tested, and the state has
released some inmates who were later found to have the virus, raising fears that prison systems could seed new
infections outside penal institutions.

“Nothing signiﬁcant had been done to protect those most vulnerable to the virus,” said Marie Waldron, the Republican
minority leader of the California State Assembly.




                                  An inmate cleaned a jail cell at Las Colinas Women’s Detention Facility in Santee, Calif., in
                                  April. Sandy Huffaker/Agence France-Presse — Getty Images



But J. Clark Kelso, who oversees prison health care in California, said that mass testing would provide only a snapshot
of the virus’s spread.

“Testing’s not a complete solution,” Mr. Kelso said. “It gives you better information, but you don’t want to get a false
sense of security.”

California’s health department has recommended that a facility’s prison inmates and staff members be given priority
for testing once an infection has been identiﬁed there.

But the state prison system has conducted mass testing at only a handful of institutions where infections have been
found, according to state data. In one of those facilities, the California Institution for Men in Chino, nearly 875 people
have tested positive and 13 inmates have died.

Instead, California has employed surveillance testing, which involves testing a limited number of inmates at each state
prison regardless of the known infection rate.

That method, Mr. Kelso said, had led ofﬁcials to conclude that a vast majority of its prisons are free of the virus.

“We’re not 100 percent conﬁdent because we’re not testing everyone,” he said. “As we learn every single day from what
we’re doing, we may suddenly decide, ʻNo, we actually have to test all of them.’ We’re not at that point yet.”

In interviews, California prison inmates say prison staff have sometimes refused to test them, even after they
complained about symptoms similar to the coronavirus. Several prisoners said they had been too weak to move for
weeks at a time, but were never permitted to see a nurse and had never been tested.




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“I had chest pains. I couldn’t breathe,” said Althea Housley, 43, an inmate at Folsom State Prison, where no inmates
have tested positive, according to state data. “They told us it was the ﬂu going around, but I ain’t never had a ﬂu like
that.”

Mr. Kelso did not dispute the prisoners’ accounts.

In Texas, mass testing has found that nearly 8,000 inmates and guards have been infected. Sixty-two people have died,
including some who had not exhibited symptoms.

Dr. Murray, the physician who oversees much of Texas’ prison health care system, said the disparate approaches taken
by prison authorities might actually be beneﬁcial as ofﬁcials compare notes.

“I’m glad we’ve got 50 states and everyone is trying to do something a little different — whether that’s by intent or not,”
he said, “because it’s really the only basis that we’re going to have for comparison later on.”

But Baleegh Brown, 31, an inmate at a California prison, said he was displeased about being part of what he considered
a science experiment. His prison has had more than 170 infections.

He said that he and his cellmate were conﬁned to a 6-by-9-foot space for about 22 hours each day as the prison tries to
prevent the virus from spreading further. Mr. Brown said he had a weakened immune system after a case of non-
Hodgkin’s lymphoma, making him particularly vulnerable to illness.

“We need more testing here so everyone knows for sure,” he said. “And for me, my body has been compromised, so I
don’t know how it is going to react. That makes all you don’t know even scarier.”
Brendon Derr, Danya Issawi and Maura Turcotte contributed reporting.




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1
                                   CERTIFICATE OF SERVICE

2           I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
3
      age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
4

5     am not a party to the above-entitled action. I have caused, on September 11, 2020, service

6     of the defendant’s:
7
           DEFENDANT’S OPPOSITION TO THE GOVERNMENT’S MOTION TO
8        TERMINATE AND NOT FURTHER EXTEND DEFENDANT’S TEMPORARY
                          RELEASE [DOCKET NO. 262]
9
      on the following party, using the Court’s ECF system:
10

11    AUSA BRETT SAGEL AND AUSA JULIAN ANDRE

12    I declare under penalty of perjury that the foregoing is true and correct.
13
      Executed on September 11, 2020
14

15                                            /s/ H. Dean Steward
16                                            H. Dean Steward
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